This suit was instituted in the District Court of Harris County by the City of Houston, defendant in error, for the purpose of recovering taxes levied for the years 1888, 1889, 1891, and 1893 to 1898, both inclusive, and to foreclose a lien upon the lands against which they were assessed.
"Plaintiffs' original petition was filed July 8, 1898, and made the Galveston, Houston  Henderson Railway Company and Mrs. J.B. Link parties defendant. *Page 379 
"On September 26, 1898, the railway company filed a disclaimer. On May 4, 1899, plaintiff filed an amended petition suing for the taxes due for the years 1888, 1889, 1891, 1893, 1897, and 1898. On August 26, 1899, plaintiff filed second amended original petition making said railway company, Mrs. J.B. Link, and T.J. Patillo parties defendant, and suing for the taxes for the years as set out in the original petition. In each of said petitions it was averred that for each of the years named the property had been sold for the taxes due thereon, in accordance with the provisions of the city charter and ordinances, and had been bought in by the city and deed duly made, all the preliminaries required by law having been performed.
"Defendants Link and Patillo answered by general demurrer and a plea of limitation of four years. Upon trial before the court without a jury judgment was rendered in favor of appellee for the taxes and costs alleged to be due for each of the years named in the second amended petition, with lawful interest, and for the amounts prayed for. The tax lien was foreclosed upon the real estate against which the taxes were levied and assessed and order of sale was decreed in the usual form. No personal judgment was rendered against any of the persons named as defendants. No statement of facts appears in the record and the trial court filed no findings of fact. There are no briefs for appellee. The cause is here upon writ of error and the judgment is assailed as erroneous upon two grounds, viz: 1. It was error to render a personal judgment against plaintiffs in error. 2. The court erred in refusing to sustain defendants' plea of limitation of four years, the petition showing upon its face that the taxes due for at least some of the years named had been due for more than four years prior to the institution of the suit.
"The first ground of complaint has been disposed of by the statement that no personal judgment was rendered. The question of limitation was not raised by exception to the petition, but by plea in bar. Whether on this state of the pleading the assignment can be noticed by this court in the absence of a statement of facts will not be considered. We will dispose of the case on the assumption that it is properly presented. The pleadings of plaintiff disclose that the taxes for each year were due in July. The original petition declared upon taxes due for the years 1888, 1889, 1891, 1893, and 1897, and was filed on July 8, 1898, thus disclosing that taxes due for all the years named except 1897 had been due and payable for more than four years prior to the filing of the petition.
"The first amendment was filed May 4, 1899, and prayed judgment for the taxes due for the years named in the original petition and for the year 1898 in addition. In the second amended petition, filed August 21, 1899, and upon which the cause was tried, the city sought judgment for taxes for the years 1894, 1895, and 1896 in addition to the taxes for the years previously declared on, thus showing that in addition to those years which would be barred if the four year statute were operative, the years 1894 and 1895 would come within *Page 380 
the bar. Section 40 of the charter of the city of Houston providing for the plea of four years limitation in bar of suits by the city for taxes took effect May 26, 1899, and if available to defendants in this cause is a bar to recovery for each of the years named except 1896, 1897, and 1898, but because suit was pending for the taxes for the years 1888, 1889, 1891, and 1893 at the time the act went into effect, and in view of the questions decided in Ollivier v. City of Houston, 22 Texas Civil Appeals, 55, it is not insisted that the act affects the right to recover for the years for which suit was pending. In the case cited judgment in favor of the city of Houston for the years 1892 and 1893 was affirmed, the act in question having gone into effect subsequent to the institution of the suit.
"A question not expressly decided in that case is, whether there must be accorded to the city a reasonable time after the act became a law in which to bring suit on claims due for more than four years at the time the act went into effect. We think, however, the principle involved was there decided. If it was not within the power of the Legislature to relinquish the city's claims for taxes, by means of a law of limitation expressly applying to pending suits, we think it follows that the law can not be given an effect which would amount to such relinquishment by denying to the city a reasonable time thereafter in which to sue upon such claims. A law prescribing a period of limitation has no effect upon the claims of individuals though past due for the period of limitation named, unless the owner of the debt or claim should fail to sue thereafter within a reasonable time. Boon v. Chamberlain, 82 Tex. 480.
"What is a reasonable time within which the suit should be brought is a question of fact to be determined by the trial court in each instance, and in the absence of a statement of facts and findings of fact by the trial judge it will be presumed that he determined this issue in favor of the plaintiff below.
"We can not hold as matter of law that the time which elapsed between the time the law went into effect and the time the amendment was filed was an unreasonable time.
"But plaintiff in error further contends that though it should be held that the four year statute does not bar the matters involved in this suit, yet the provisions of the charter of the city of Houston contained in the Special Laws of 1889, chapter 11, section 33, and of 1893, chapter 5, section 50, had operated as a bar to the city's right to sue long prior to the enactment of article 17, section 40, Special Laws of 1899.
"By chapter 11, section 33, of Special Laws of 1889, the city is forbidden to bring any suit for the collection of taxes assessed after July, 1889, but is required to pursue the summary remedy of levy and sale. After the purchase of the property at such sale by the city or by an individual, the city or such individual is permitted to sue the party so owing such taxes, for the amount of the tax and 50 per cent thereon and costs of advertisement and sale, provided the suit *Page 381 
be brought within one year from the date of the sale. The same provisions were carried into the city charter of 1893. Special Laws of 1893, chap. 5, sec. 50. Up to the passage of the Act of 1899 above referred to limitation did not run against cities and towns.
"It will be observed that the provisions of 1889 and 1893 above referred to do not purport to extinguish the city's claim for taxes, but in prescribing a remedy simply provide that the city shall not resort to suit after the expiration of one year from the sale. It was not a law of limitation, but simply prescribed the method to which the city might resort for the collection of her taxes.
"Section 50 of chapter 1, Special Laws 1895, had the effect to repeal the inhibition against suit by the city for the collection of taxes, and specifically authorized suit for any taxes due.
"Section 40 of chapter 7, Special Laws 1897, provides that `all taxes due by property owners for the year 1875 up to and including the year 1896 and for all years to come, until otherwise provided, may be collected by suit from delinquents and foreclosure of lien in any court having jurisdiction.' It further provides: `For the years 1890, 1891, 1892, 1893, and 1894, the deed executed by the sales made by the collector during said years of property for taxes in accordance with the charter of the city in force during those years shall also be prima facie evidence that the tax on the property is due and unpaid.'
"It is thus seen that the objections of plaintiff in error are answered by the charter provisions themselves, none of which are assailed as invalid.
"We are of opinion that the judgment of the trial court is without error and should be affirmed."